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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                          AMARILLO DIVISION

   HERMAN GREINSTEIN, Individually and
   for Others Similarly Situated,

                   Plaintiff,

   Vv.                                                         2:18-CV-208-Z-BR

   GRANITE SERVICES INTERNATIONAL,
   INC., et al.,

                   Defendants.

                                               ORDER

          Before the Court is Defendants’ Motion to Reconsider Denial of Motion for Summary

  Judgment (“Motion”). ECF No. 270. On June 28, 2023, the Court granted Defendants’ motion to

  certify for interlocutory appeal this Court’s order adopting the Magistrate Judge’s findings,

  conclusions, and recommendation (“FCR”) denying the parties’ motions for summary judgment.

  ECF Nos. 192, 194, 235, 260.

          The United States Court of Appeals for the Fifth Circuit agreed to hear the appeal. Because

  a different panel resolved the certified question at issue while the instant appeal was pending, the

  Fifth Circuit reversed the judgment and remanded for further proceedings. See Greinstein v.

  Granite Servs. Int’l Inc., No. 23-10781, 2024 WL 3771455 (Sth Cir. Aug. 13, 2024) (per curiam);

  ECF Nos. 268, 269. In short, the Fifth Circuit held that, in accordance with its decision in Gentry

  v. Hamilton-Ryker IT Solutions, Inc., 29 C.F.R. Section 541.604(a) supplements — but does not

  override —Section 602(a). Greinstein, 2024 WL      3771455, at *2; 102 F.4th 712 (Sth Cir. 2024).

  “[RJather than triggering an ‘additional hurdle’ to satisfy the salary-basis test, § 604(a) permits
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  additional pay so long as the underlying compensation scheme satisfies § 602(a).” Greinstein,

  2024 WL 3771455, at *2.

          Because this Court adopted the Magistrate’s FCR, which turned solely on the statutory

  relationship    between   Sections   602(a)   and   604(a),    Defendants’    Motion   to   Reconsider   is

  GRANTED.        See Texas v. Mayorkas, No. 2:22-CV-094, 2022 WL 4240894, at *1 (N.D. Tex. Sept.

  14, 2022)      (permitting reconsideration of interlocutory orders under Federal Rule of Civil

  Procedure 54(b)). This Court ORDERS both parties to confer and submit a joint briefing schedule

  regarding any renewed summary-judgment motions, responses, and replies on or before March

  24, 2025.

          SO ORDERED.

          March [2 2025                                                          i
                                                           UNTED ST J. KACSMARYK
                                                           UNI      D STATES DISTRICT JUDGE
